                 Case 2:07-cr-00047-TLN Document 40 Filed 06/21/07 Page 1 of 1


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2
     JEFFREY L. STANIELS, Bar #91413
3    Assistant Federal Defender
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    AUDREY RENEE BELL
7                             IN THE UNITED STATES DISTRICT COURT
8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                   )   No. 2:07-cr-0047 LKK
10                                               )
                          Plaintiff,             )
11                                               )   ORDER EXCLUDING TIME
            v.                                   )
12                                               )   Judge: Hon. Lawrence K. Karlton
     AUDREY RENEE BELL, et. al.                  )                 (In Chambers)
13                                               )
                          Defendant.             )
14                                               )
15          Following a status conference on June 19, 2007, the court granted the unopposed request
16   for a continuance for the purpose of further discovery, investigation, and defense preparation,
17   made by counsel for defendants Bell and Ross. Counsel for defendant Hubbs had advised the
18   court by telephone that travel delay prevented his appearance.
19          This case was therefore scheduled for status conference on July 31, 2007 at 9:30 a.m. Time
20   for trial under the Speedy Trial Act is excluded between June 19, 2007, and July 31, 2007,
21   pursuant to 18 U.S.C. § 3161(h)(8)(A) & (B)(ii) & (iv), Local Codes T-2 & T-4. With respect to
22   defendant Hubbs, time is excluded between June 19, 2007, and July 31, 2007 pursuant to 18
23   U.S.C. § 3161(h)(3)(B)(7), Local Code R.
24                  IT IS SO ORDERED.
25                                      By the Court,
26
     Dated: June 21, 2007
27
28
